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                     EXHIBIT 3
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                                                                               EXHIBIT 3


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April 23, 2025

Bradley S. Lui
Morrison & Foerster LLP
blui@mofo.com

Re:    VoIP-Pal.com Inc. v. AT&T, Inc. et al, Case No. 1-24-cv-03051
       Rich Inza, et al. v. AT&T, Inc. et al, Case No. 1-24-cv-03054

Dear Mr. Lui,

        Pursuant to your request, and by this letter, service of process in the above-referenced cases
is being effected through your office. Please find enclosed a copy of the summons issued by the
Court for each of the Verizon defendants. A copy of the Court’s standard waiver form is also
attached. Please return an executed waiver form for each of the Verizon defendants.

        Separately, set forth below are internet addresses where we have produced a copy of every
paper filed by the plaintiffs and every order issued by the court in each case.

https://www.dropbox.com/scl/fo/b6i1zf4nufmp959jb74y8/ADc1c5sqQgMbCsAjkNUhKD8?rlke
y=v5apdso52mkms6jckh5r5nfpy&st=oerj4cux&dl=0

https://www.dropbox.com/scl/fo/70rirzlxqky8ni8p9vkf7/AFgoVERfhfkkrav16CH5vH4?rlkey=hi
r2vnjh19utp05dabdim8g9p&st=ln3o7a7l&dl=0

       Please contact me at (202) 329-3558 or jtpittman@hphattorneys.com with any questions,
and thank you for your efforts on this case.



                                                      Very truly yours,

                                                      Travis Pittman




                                                                                          Page 1 of 1
